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                              No. 23-1940

                                   In the

United States Court of Appeals
              For the Sixth Circuit
                       __________________

                      DENNIS SPEERLY, et al.,
                                                              Plaintiffs-Appellees,
                                       v.
                     GENERAL MOTORS LLC,
                                                              Defendant-Appellant.
                       ____________________________________


     On Appeal from the United States District Court for the
        Eastern District of Michigan, No. 2:19-cv-11044
                   Hon. David M. Lawson
                       ____________________________________


         BRIEF OF THE CHAMBER OF COMMERCE
  OF THE UNITED STATES OF AMERICA, THE AMERICAN
  TORT REFORM ASSOCIATION, AND THE ALLIANCE FOR
     AUTOMOTIVE INNOVATION AS AMICI CURIAE
        IN SUPPORT OF DEFENDANT-APPELLANT
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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1940                              Case Name: Dennis Speerly, et al. v. General Motors, LLC
 Name of counsel: Brian D. Schmalzbach

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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1940                              Case Name: Dennis Speerly, et al. v. General Motors, LLC
 Name of counsel: Brian D. Schmalzbach

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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1940                              Case Name: Dennis Speerly, et al. v. General Motors, LLC
 Name of counsel: Brian D. Schmalzbach

 Pursuant to 6th Cir. R. 26.1, Alliance for Automotive Innovation
                                                            Name of Party
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        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

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 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  None known.




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 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Brian D. Schmalzbach




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             IDENTITY AND INTEREST OF AMICI CURIAE

      The Chamber of Commerce of the United States of America (the

“Chamber”) is the world’s largest business federation.            The Chamber

represents around 300,000 direct members and indirectly represents the

interests of more than three million companies and professional

organizations of every size, in every industry sector, and from every region

of the country. An important function of the Chamber is to represent the

interests of its members in matters before Congress, the Executive Branch,

and the courts. To that end, the Chamber regularly files amicus briefs in

cases, like this one, that raise issues of concern to the nation’s business

community.

      The American Tort Reform Association (“ATRA”) is a broad-based

coalition of businesses, corporations, municipalities, associations, and

professional firms that have pooled their resources to promote reform of the

civil justice system with the goal of ensuring fairness, balance, and

predictability in civil litigation. For more than three decades, ATRA has filed

amicus briefs in cases involving important liability issues.

      The Alliance for Automotive Innovation (“Auto Innovators”) is a

collective trade organization representing the voice of the automotive


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industry. Focused on creating a safe and transformative path for sustainable

industry growth, Auto Innovators represents the manufacturers producing

nearly 98 percent of cars and light trucks sold in the United States. Auto

Innovators is directly involved in regulatory and policy matters affecting the

light-duty vehicle market across the country.        Members include motor

vehicle manufacturers, original equipment suppliers, and technology and

other automotive-related companies.

      Amici’s members and their subsidiaries are often targeted as

defendants in class actions.    Amici thus are familiar with class action

litigation, both from the perspective of individual defendants in class actions

and from a more global perspective. Amici have a significant interest in this

case because the proper application of Article III and Rule 23 raise issues of

immense significance not only for their members, but also for the customers,

employees, and other businesses that depend on them.

              STATEMENT OF CONSENT, AUTHORSHIP,
                     AND CONTRIBUTION

      Counsel for all parties consented to the filing of this brief. No counsel

for any party authored this brief in whole or in part, and no entity or person,

aside from amici curiae, their members, or their counsel, made any monetary



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contribution intended to fund the preparation or submission of this brief.

                             INTRODUCTION

      This case provides a recipe for transmuting the claims of a few

dissatisfied customers into billion-dollar class actions on behalf of largely

uninjured class members. But that attempted Article III alchemy cannot

survive fundamental limitations on federal jurisdiction in the class action

context. To the contrary: “In an era of frequent litigation”—and especially

in “class actions”—“courts must be more careful to insist on the formal rules

of standing, not less so.” Arizona Christian Sch. Tuition Org. v. Winn, 563 U.S.

125, 146 (2011).

      The District Court relaxed those rules and omitted the rigorous

analysis required by Rule 23 when it certified 26 statewide classes of largely

satisfied buyers of GM vehicles with alleged transmission defects. The vast

majority of class members never had any transmission problem with their

vehicles, and thus received what they paid for. But class members who

receive a product that functions as promised lack standing to sue for an

alleged defect that never affected them. The district court certified those

classes despite those problems because, in its view, all those uninjured class

members were a problem for another day.


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      This Court should reverse the order certifying dozens of such classes

and creating billions of dollars in exposure. In doing so, it should correct

two fundamental errors in the district court’s standing analysis.1

      First, this Court should clarify that it is never permissible under Article

III to certify a largely (if not entirely) uninjured class. The act of certification

makes absent class members parties subject to the same standing

requirements as named plaintiffs. Yet here, even if some of those class

members had standing, the district court allowed many more uninjured

class members to ride on their coattails. Neither Article III nor Rule 23

permits that approach, and this Court should take the opportunity to

confirm what TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), necessarily

requires: no damages class can be certified without evidence that each class

member has Article III standing. The district court’s proposal to kick the can

down the road by “identify[ing] and cull[ing]” uninjured class members

after they have already bloated the certified class flouts Article III. Speerly v.

Gen. Motors, LLC, 343 F.R.D. 493, 523 (E.D. Mich. 2023).




1 Although this amicus brief focuses on the errors in the district court’s

standing analysis, the Opening Brief persuasively highlights other errors in
the class certification order that independently warrant reversal.

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      Second, to the extent this Court thinks it may be permissible in some

cases to certify a class that contains some small number of uninjured class

members, it should make clear that this is not one of those cases. The need

to winnow out those uninjured class members before judgment would

necessarily raise individual inquiries that would predominate over the

common questions. Under Rule 23(b)(3), plaintiffs must show, among other

things, that any common questions “predominate over any questions

affecting only individual members.”        Fed. R. Civ. P. 23(b)(3).      That is

Plaintiffs’ burden of proof, not just of pleading: “Rule 23 does not set forth a

mere pleading standard.         A party seeking class certification must

affirmatively demonstrate his compliance with the Rule.” Wal-Mart Stores,

Inc. v. Dukes, 564 U.S. 338, 350 (2011).      And that obligation applies to

questions of Article III standing no less than the merits. The district court

cannot simply circumvent the fundamental standing issue by holding it was

“sufficient that the plaintiffs have alleged that every class member suffered a

loss.” Speerly, 343 F.R.D. at 523. Here, the detailed individualized inquiries

needed to test the proof of each class member’s injury-in-fact would

predominate over any common questions. The class certification order

should be reversed.

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                                ARGUMENT

I.    The district court erred in certifying these substantially uninjured
      classes.

      Plaintiffs sought to certify classes for 26 states covering those who

bought an array of different GM vehicles whose only commonality was that

they had 8-speed transmissions.      Most of those buyers never had any

transmission problems with their vehicles, and thus received the benefit of

their bargain. Yet the district court granted class certification as though the

mountain of uninjured class members was but a speed bump along the way.

That was error. As a straightforward Article III matter, that class could not

be certified because it would contain uninjured class members. And in any

event, the need to separate all the uninjured class members from any who

would have standing to sue would destroy the predominance of any

common issues required by Rule 23(b)(3).

      A.    This Court should confirm that Rule 23(b)(3) classes must
            exclude the uninjured.

      In this Circuit, a fundamental class-certification question has escaped

resolution: Can a damages class be certified without evidence that each class

member has Article III standing? This Court should resolve this issue and




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clarify that every member of a class certified under Rule 23(b)(3) must have

standing.2

      TransUnion held that “[e]very class member must have Article III

standing in order to recover individual damages.” 141 S. Ct. at 2208. But

that decision addressed a final judgment awarding damages to absent class

members—not the class-certification order itself. So the Supreme Court did

not explicitly resolve “the distinct question whether every class member

must demonstrate standing before a court certifies a class.” Id. at 2208 n.4.

      Yet the same fundamental principles of Article III standing that were

dispositive in TransUnion confirm why each putative class member must

show standing before certification. First, “‘[e]ach element [of standing] must

be supported in the same way as any other matter on which the plaintiff

bears the burden of proof, i.e., with the manner and degree of evidence

required at the successive stages of the litigation.’” Ward v. Nat’l Patient Acct.

Servs. Sols., Inc., 9 F.4th 357, 360–61 (6th Cir. 2021) (quoting Lujan v. Defs. of




2 A non-precedential order by a panel of this Court suggested that each class

member must have standing to qualify for certification. See In re Carpenter
Co., No. 14-0302, 2014 WL 12809636, at *2 (6th Cir. Sept. 29, 2014) (analyzing
propriety of class certification based on “whether the definition of the class
is sufficiently narrow to exclude uninjured parties”).

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Wildlife, 504 U.S. 555, 561 (1992)); see also TransUnion, 141 S. Ct. at 2208

(plaintiffs must maintain standing “at all stages” of a case).

      At class certification, the necessary manner and degree of evidence is,

at a minimum, proof by a preponderance of the evidence.                    See Olean

Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 665 & n.6

(9th Cir. 2022) (“We therefore join our sister circuits in concluding that

plaintiffs must prove the facts necessary to carry the burden of establishing

that the prerequisites of Rule 23 are satisfied by a preponderance of the

evidence.” (citing cases)); see also 1 McLaughlin on Class Actions § 3:12 (20th

ed.) (“[T]here is broad agreement in the circuit courts to apply a

preponderance of the evidence standard to the class certification

determination.”).3    So before certifying a class, and thus exercising

jurisdiction over the merits of the claims of absent class members, the district




3 This Circuit has not yet addressed the standard of proof at class certification

in a precedential opinion. See Gooch v. Life Invs. Ins. Co. of Am., 672 F.3d 402,
418 n.8 (6th Cir. 2012) (“[W]e have no occasion to decide the evidentiary
standard for factual findings during class certification.”); see also In re
Carpenter Co., 2014 WL 12809636, at *3. Yet it is well-settled that “[t]he party
seeking class certification has a burden of proof,” In re Ford Motor Co., 86 F.4th
723, 729 (6th Cir. 2023), and a plaintiff that cannot show that the Rule 23
requirements are more likely than not satisfied cannot (in any meaningful
sense) prove those requirements.

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court must find by a preponderance of evidence that it may do so. See Smith

v. Bayer Corp., 564 U.S. 299, 313 (2011) (unnamed class members are not

“part[ies] to the class-action litigation before the class is certified”).4

      Second, in the analogous context of intervention by right, it is well-

settled that each plaintiff must show Article III standing to seek money

damages. See Town of Chester v. Laroe Ests., Inc., 581 U.S. 433, 439 (2017). Like

mandatory intervention, class actions are procedures that “enabl[e] a federal

court to adjudicate claims of multiple parties at once, instead of in separate

suits . . . , leav[ing] the parties’ legal rights and duties intact and the rules of

decision unchanged.” Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co.,

559 U.S. 393, 408 (2010) (plurality op.). In each case, additional plaintiffs are

in some sense joined. These plaintiffs would need independent Article III

standing to bring an unjoined damages lawsuit.                     Nothing about the

procedural mechanisms the Rules have created for more efficiently

considering their claims can relax that irreducible constitutional


4 As the Chamber and ATRA explained in a recent amicus brief in another

automotive class action pending before this Court, district courts must
exercise their gatekeeping function under Rule 702 when plaintiffs try to
prove those Rule 23 requirements using expert testimony. See Chamber &
ATRA Br. as Amici Curiae, Doc. 47, In re Nissan North Am., Inc. Litig., No. 23-
5950 (Feb. 2, 2024).

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requirement. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 613 (1997)

(“Rule 23’s requirements must be interpreted in keeping with Article III

constraints, and with the Rules Enabling Act.”); see also Fed. R. Civ. P. 82

(instructing that the “rules do not extend . . . the [subject-matter] jurisdiction

of the [United States] district courts”).

      This Court thus should join the other appellate courts refusing to

certify damages classes containing uninjured members.              See Denney v.

Deutsche Bank AG, 443 F.3d 253, 264 (2d Cir. 2006) (“[N]o class may be

certified that contains members lacking Article III standing.”); Halvorson v.

Auto-Owners Ins. Co., 718 F.3d 773, 778 (8th Cir. 2013) (“In order for a class to

be certified, each member must have standing and show an injury in fact that

is traceable to the defendant and likely to be redressed in a favorable

decision.”); 7AA Charles Alan Wright, Arthur R. Miller & Mary Kay Kane,

Federal Practice and Procedure § 1785.1 (3d ed.) (“[T]o avoid a dismissal

based on a lack of standing, the court must be able to find that both the class

and the representatives have suffered some injury requiring court

intervention.”). That holding would require reversing the district court,

which fully excused the plaintiffs from the burden of proving that each class

member suffered an injury-in-fact. See Speerly, 343 F.R.D. at 523 (“[I]t is

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sufficient that the plaintiffs have alleged that every class member suffered a

loss.” (emphasis in original)).

      B.    Even if the uninjured could be damages class members, the
            absence of classwide proof of injury defeats predominance.

      In any event, these damages classes could not be certified because the

many uninjured class members destroy predominance under Rule 23(b)(3).

      Before certifying a damages class, a court must engage in “rigorous

analysis”—based on evidentiary proof—to determine that common issues

will predominate over individualized questions.          Fox v. Saginaw Cnty.,

Michigan, 67 F.4th 284, 300 (6th Cir. 2023); see also Comcast Corp. v. Behrend,

569 U.S. 27, 34 (2013) (quoting Amchem, 521 U.S. at 615) (noting “the court’s

duty to take a ‘close look’ at whether common questions predominate over

individual ones”). “If many or most of the putative class members could not

show that they suffered an injury fairly traceable to the defendant's

misconduct, then they would not be able to recover, and that is assuredly a

relevant factor that a district court must consider when deciding whether

and how to certify a class.” Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1273

(11th Cir. 2019). Standing for unnamed class members thus presents a

“powerful problem under Rule 23(b)(3)’s predominance factor.” Id.; see also



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In re Asacol Antitrust Litig., 907 F.3d 42, 53 (1st Cir. 2018) (if a substantial

number of class members “in fact suffered no injury,” the “need to identify

those individuals will predominate”); Van v. LLR, Inc., 61 F.4th 1053, 1069

(9th Cir. 2023) (vacating class certification for failure to consider effect of

individualized injury inquiries on predominance).

      The overwhelming number of class members who had no transmission

issue creates an inescapable predominance problem here. And none of the

district court’s responses can fix it. That all the named Plaintiffs assert

manifest defects is unsurprising, Speerly, 343 F.R.D. at 522, but testing even

just their asserted experiences (let alone all class members’ experiences)

would require burdensome individualized inquiries. For example, GM

would be entitled at a minimum to evaluate what specific “transmission”

issue each owner perceived; test whether that issue is replicable; and

investigate how that owner maintained the vehicle’s tires (which can cause

similar complaints). See Opening Br. 10–13. And Plaintiffs’ expert’s say-so

that all class members will experience the purported defects could not

prevent GM from proving that many individual class members never did.

Speerly, 343 F.R.D. at 522; see also Dukes, 564 U.S. at 367 (“[A] class cannot be

certified on the premise that [a defendant] will not be entitled to litigate . . .

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defenses to individual claims.”).        After all, “[w]hat matters to class

certification … is not the raising of common ‘questions’—even in droves—

but, rather the capacity of a class-wide proceeding to generate common

answers apt to drive the resolution of the litigation.” Dukes, 564 U.S. at 350.

      Nor can the district court’s inadequate analysis be saved by insisting

that “‘the presence of individualized damages cannot, by itself, defeat class

certification under Rule 23(b)(3).’” Speerly, 343 F.R.D. at 523–24 (quoting

Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013)).           The

constitutional question whether each class member had any cognizable injury

is distinct from the question to what extent that injury resulted in damages.

And in any court, the need to show whether each class member was

concretely injured at all presents a core predominance problem. See, e.g.,

Bowerman v. Field Asset Servs., Inc., 60 F.4th 459, 470 (9th Cir. 2023) (common

policy of not paying overtime does not predominate over individualized

question “whether the class members actually worked overtime”).5


5 In any event, the district court erred in brushing off predominance
problems with individualized damages. That back-of-the-hand flouts this
Court’s holding that “if fact-specific damage trials will inevitably
overwhelm common liability questions, individual issues may
predominate.” Fox, 67 F.4th at 301; see also Tarrify Props, LLC v. Cuyahoga
Cnty., 37 F.4th 1101, 1106–08 (6th Cir. 2022). The Ninth Circuit dictum

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      So even if any class member had Article III standing here, many would

not, and that alone should have precluded class certification. That glut of

uninjured class members precludes a damages class, and in any event, the

individualized efforts needed to separate them from any actually affected

class members would destroy predominance under Rule 23(b)(3).

II.   Circumventing Article III and Rule 23 restrictions on class actions
      harms American businesses and the economy as a whole.

      The district court’s laissez-faire approach to uninjured class members

magnifies the burdens that class action litigation imposes on the business

community and the public. That approach thus exacerbates “the procedural

unfairness to which class actions are uniquely susceptible.” In re Ford Motor

Co., 86 F.4th at 729.

      Class action litigation costs in the United States are oppressive and

getting worse. In 2022 (the most recent year for which data is available),




quoted by the district court merely recognizes that calculations under an
appropriate formulaic model may not be burdensome. But burdensome
individualized inquiries are not exempted from the predominance inquiry
just because they relate to damages. See Bell Atl. Corp. v. AT&T Corp., 339
F.3d 294, 307 (5th Cir. 2003) (“Class treatment, however, may not be suitable
where the calculation of damages is not susceptible to a mathematical or
formulaic calculation, or where the formula by which the parties propose to
calculate individual damages is clearly inadequate.”).

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those costs surged to $3.5 billion, continuing a long-running trend of rising

costs. See 2023 Carlton Fields Class Action Survey, at 4–6 (2023), available at

https://ClassActionSurvey.com. Defending even one class action can cost a

business over $100 million. See, e.g., Adeola Adele, Dukes v. Wal-Mart:

Implications for Employment Practices Liability Insurance 1 (July 2011). And

those class actions routinely drag on for years, accruing legal fees without

resolution of class certification—let alone the dispute as a whole. See U.S.

Chamber Institute for Legal Reform, Do Class Actions Benefit Class Members?

An Empirical Analysis of Class Actions, at 1, 5 (Dec. 2013), available at

http://bit.ly/3rrHd29 (“Approximately 14 percent of all class action cases

remained pending four years after they were filed, without resolution or

even a determination of whether the case could go forward on a class-wide

basis.”).

      The extraordinary exposure created by certifying a class also coerces

defendants to settle even cases that ought to be resolved in their favor on the

merits. Judge Friendly aptly termed these “blackmail settlements.” Henry

J. Friendly, Federal Jurisdiction: A General View 120 (1973). As the Supreme

Court explained, “Certification of a large class may so increase the

defendant’s potential damages liability and litigation costs that he may find

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it economically prudent to settle and to abandon a meritorious defense.”

Coopers & Lybrand v. Livesay, 437 U.S. 463, 476 (1978); see also Microsoft Corp.

v. Baker, 137 S. Ct. 1702, 1715 (2017) (class certification may create a “reverse

death knell” that “‘force[s] a defendant to settle rather than . . . run the risk

of potentially ruinous liability’” (quoting Advisory Committee’s 1998 Note

on subd. (f) of Fed. Rule Civ. Proc. 23)). Over the last five years, well over

half of class actions have resulted in settlements—including over 73% of

class actions in 2021. See 2023 Carlton Fields Class Action Survey 22.

      Rigorous enforcement of both Article III and Rule 23 at the class-

certification stage would be a much-needed step in the right direction.

“Enforcing Article III’s requirements at the class certification stage ensures

that parties and courts do not needlessly expend time and money—and

defendants are not faced with unjustified settlement pressure—litigating a

certified class action through trial only for a court to conclude at final

judgment that significant portions of the certified class lack standing.” U.S.

Chamber Institute for Legal Reform, TransUnion and Concrete Harm: One

Year Later, at 51 (June 2022), available at https://instituteforlegalreform.com

/wp-content/uploads/2022/06/ILR-Research-Paper-Spokeo-Transunion-

v9-FINAL.pdf. But if the district court’s lax analysis goes uncorrected, the

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already immense pressure on businesses to settle improperly brought class

actions will continue to balloon no matter if plaintiffs have suffered any

actual harm. That coercion hurts the entire economy, because the attorney’s

fees and costs accrued in defending and settling overbroad class actions are

ultimately absorbed by consumers and employees through higher prices and

lower wages. See U.S. Chamber Institute for Legal Reform, Unfair, Inefficient,

Unpredictable: Class Action Flaws and the Road to Reform, at 40 (Aug. 2022),

available    at   https://instituteforlegalreform.com/wp-content/uploads/

2022/08/ILR-Class-Action-Flaws-FINAL.pdf (explaining why “overbroad

class actions are nothing more than a mechanism for expanding the size of a

given class to justify a windfall for attorneys who claim to represent the

interests of uninjured class members”).

                                CONCLUSION

      For these reasons, this Court should reverse the class certification

order.




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     1.    This brief complies with the type-volume limitations of Fed. R.

App. P. 32(a)(7)(B) because it contains 3,579 words, excluding the parts of

the brief exempted by Fed. R. App. P. 32(f).

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                                     /s/ Brian D. Schmalzbach
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                         CERTIFICATE OF SERVICE

     I hereby certify that on February 21, 2024, the foregoing was filed with

the Clerk of the United States Court of Appeals for the Sixth Circuit using

the appellate CM/ECF system, which will also serve counsel of record.


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